        Case 1:20-cr-00330-AJN Document 649 Filed 03/15/22 Page 1 of 12



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                                                      March 15, 2022

Honorable Alison J. Nathan
United States District Judge
United States Courthouse
40 Foley Square
New York, NY 10007

       Re: United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       We respectfully submit this letter following the hearing on March 8, 2022 (the

“Hearing”) in further support of Ghislaine Maxwell’s Motion for a New Trial (“Motion”).

       The Court has now heard from Juror 50 in his own words. If there is one thing we

learned from Juror 50 at the Hearing, it is this: he should never have been a member of this jury.

Juror 50 conceded that he gave false responses to not one, but three critical questions on the juror

questionnaire, all of which, had he answered them truthfully, would have revealed his prior

sexual abuse. The abuse Juror 50 described at the Hearing, which he should have disclosed on

the questionnaire and during voir dire, was remarkably similar to the abuse described by the

government’s four key victim witnesses and would, by itself, have formed the basis for a

challenge for cause. Moreover, his answers to the Court’s questions, which he gave after careful

preparation by his attorney and under the protection of government-granted immunity, alternated

between inconsistent, implausible, and contradictory, and at all times lacked credibility.

       Juror 50’s explanation that he “flew through” the questionnaire does not hold water, and

his repeated after-the-fact assurances that the sexual abuse he suffered as a child did not affect

his ability to be a fair and impartial juror were self-serving and simply not believable. Like

anyone in his position, Juror 50 does not want to be responsible for the retrial of Ghislaine
         Case 1:20-cr-00330-AJN Document 649 Filed 03/15/22 Page 2 of 12




Maxwell, so he attempted to give innocuous explanations for his false questionnaire responses

and his decision to “tell his story” to the international press following trial. In fact, Juror 50’s

responses only further revealed his bias. In the end, what was evident before the Hearing is even

more clear after the Hearing – had Juror 50 given truthful answers on the questionnaire, his

biases and sympathies would have been fully explored and he would have been challenged, and

excluded, for cause. Instead, Juror 50’s false responses to the most critical questions on the

questionnaire undermined voir dire and deprived Ms. Maxwell of her constitutional right to a

trial by a fair and impartial jury.

I.      The Hearing Testimony Established that Juror 50 Falsely Answered Three Critical
        Questions on the Jury Questionnaire.

        There can be no dispute that Juror 50’s testimony established conclusively that he falsely

answered three separate questions on the jury questionnaire – Questions 48, 25, and 49. It is no

coincidence that Juror 50 gave false answers to these questions. These were the questions that,

had he answered truthfully, would have revealed his prior sexual abuse. Question 48 asked

“Have you or a friend or family member ever been the victim of sexual harassment, sexual

abuse, or sexual assault?” (Court Exhibit #1 at 24). Juror 50 had answered “No.” (Id.). Juror

50 admitted that this was not an accurate answer and that the truthful answer was “Yes (self)”

because he had, in fact, been sexually abused as a child by his stepbrother and his friend. (Tr. 7-

8). Question 25 asked “Have you, or any of your relatives or close friends, ever been a victim of

a crime?” (Court Exhibit #1 at 13). Juror 50 had answered “No.” (Id.). Juror 50 admitted that

this was not an accurate answer and that the truthful answer was “Yes (self)” because of the

same childhood sexual abuse. (Tr. 9-10). Finally, in light of Juror 50’s statement that he had

been sexually abused by his stepbrother, the Court confronted Juror 50 about his answer to




                                                   2
          Case 1:20-cr-00330-AJN Document 649 Filed 03/15/22 Page 3 of 12




Question 49, which asked “Have you or a friend or family member ever been accused of sexual

harassment, sexual abuse, or sexual assault?” (Court Exhibit #1 at 25). Juror 50 had answered

“No.” (Id.). Although Juror 50 initially claimed that this was an accurate response because he

did not consider his stepbrother a “family member,” Juror 50 eventually admitted that this was

not an accurate answer and that the truthful answer was “Yes (friend or family member)”

because a stepbrother is a family member and Juror 50’s mother reported the stepbrother’s sexual

abuse to the police when Juror 50 disclosed it to her several years after it happened. (Tr. 8-9, 11-

13).

         Accordingly, the record is clear that several of Juror 50’s voir dire responses were false,

satisfying the first prong of the McDonough test. See United States v. Stewart, 433 F.3d 273,

303 (2d Cir. 2006) (“[A] party alleging unfairness based on undisclosed juror bias must

demonstrate first, that the juror’s voir dire response was false and second, that the correct

response would have provided a valid basis for a challenge for cause.” (citing McDonough

Power Equipment, Inc. v. Greenwood, 464 U.S. 548, 556 (1984)).1

II.      Had Juror 50 Answered the Questions Truthfully, He Would Have Been Struck for
         Cause


         The Court must next consider whether the correct responses to the voir dire questions

would have provided Ms. Maxwell with a valid basis to challenge Juror 50 for cause. See

Stewart, 433 F.3d at 303. The Court must determine whether Juror 50 was capable of being an

impartial, unbiased juror “capable and willing to decide the case solely on the evidence before

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  Ms. Maxwell reiterates her position that it is not necessary for the false statement to be intentional or deliberate to
satisfy the first prong of the McDonough test. See Motion at 23-28; Reply at 9-10. Nevertheless, the record
establishes that Juror 50’s false statements were intentional. (See discussion infra). Even if the Court determines
that they were not, and that McDonough requires an intentional false statement, Ms. Maxwell is still entitled to a
new trial based on Juror 50’s bias. See Skaggs v. Otis Elevator Co., 164 F.3d 511, 516 (10th Cir. 1998) (“Although
unable to prove a juror’s incorrect response to a material question was intentional, a movant may introduce evidence
demonstrating bias on the part of a juror who gave an incorrect but not intentionally dishonest answer during voir
dire.”).


                                                           3
         Case 1:20-cr-00330-AJN Document 649 Filed 03/15/22 Page 4 of 12




him.” United States v. Daugerdas, 867 F. Supp. 2d 445, 470 (S.D.N.Y. 2012) (quoting

McDonough, 464 U.S. at 554). Challenges for cause can be based on implied bias, inferable

bias, or actual bias. See United States v. Torres, 128 F.3d 38, 43 (2d Cir. 1997). In determining

       whether Juror 50 was biased, the Court should consider several factors, including “[1] the

similarity between the juror’s experiences and important facts presented at trial, [2] the scope

and severity of the juror’s dishonesty, and [3] the juror’s motive for lying.” See Sampson v.

United States, 724 F.3d 150, 166 (1st Cir. 2013) (citations omitted). The record developed at the

Hearing strengthened the already compelling evidence of Juror 50’s bias and established that,

had he answered the questionnaire honestly, he would have been struck for cause.

       A. The Similarity Between Juror 50’s Sexual Abuse and the Witnesses’ Sexual
          Abuse, As Well As His Post-Trial Conduct, Establish Bias.

       At the hearing, Juror 50 disclosed the facts of his sexual abuse, which significantly

paralleled the abuse described by the government’s four key victim witnesses at trial. Jury 50

had already disclosed some of these facts in his post-trial press interviews. But the opportunity

to question Juror 50 further about the circumstances of his abuse at the Hearing—an opportunity

that Ms. Maxwell was denied at voir dire because of his false answers to the questionnaire—

revealed even more striking similarities to the abuse described by the four victim witnesses at

trial. Like the four accusers, Juror 50 (i) was sexually abused as a minor, (ii) was abused on

multiple occasions over the course of several years, and (iii) delayed reporting the abuse. (Tr. 8-

9). Like the four accusers, Juror 50 was abused by two people who were friends and who each

participated in the abuse. (Tr. 8-9). Furthermore, Juror 50 was not abused by a stranger or

sexually assaulted by someone he did not know. He was abused by someone familiar to him, his

stepbrother, who was part of his life (Tr. 8-9), just as the four accusers described the relationship

between their families and Epstein and Ms. Maxwell. These similarities are significant and



                                                  4
         Case 1:20-cr-00330-AJN Document 649 Filed 03/15/22 Page 5 of 12




contrast sharply with other jurors who answered “Yes” to Question 48 and were not struck for

cause, but who disclosed incidents that were not directly analogous to the facts presented at trial.

       In this situation, where Juror 50 experienced the same traumatic childhood sexual abuse

that the trial victims did, with many of the same surrounding circumstances, he was not capable

of setting his experiences aside and impartially deciding the case solely on the evidence at trial.

See Daugerdas, 867 F. Supp. 2d at 472 (“Courts imply bias ‘when there are similarities between

the personal experiences of the juror and the issues being litigated.’” (quoting United States v.

Sampson, 820 F. Supp. 2d 151, 163-64 (D. Mass. 2011)); Sampson 724 F.3d at 167 (“It would be

natural for a juror who had been the victim of [the same crime] to harbor bias against a defendant

accused of such a crime.”). Had this information come to light during voir dire, Juror 50 would

have been struck for cause. See Motion at 30-38; Sampson, 724 F.3d at 167 (affirming grant of

new trial when juror in a gunpoint bank robbery case did not disclose that she had been

threatened by her husband with a gun); State v. Ashfar, 196 A.3d 93, 94-97 (N.H. 2018)

(affirming grant of new trial when juror in child sexual assault case did not disclose that he was

sexually assaulted by a babysitter when he was five or six years old); Torres, 128 F.3d at 47-48

(affirming for cause strike of juror in a structuring case who did not disclose she had engaged in

similar structuring activity herself); Burton v. Johnson, 948 F.2d 1150 1159 (10th Cir. 1991)

(affirming grant of new trial when juror in murder case involving domestic violence did not

disclose she was living in similarly abusive circumstances at the time of trial).

       Furthermore, Juror 50’s decision to speak to multiple members of the international press

after trial to “tell his story” shows how closely he identified with the victims in this case and

reveals his bias. Juror 50 testified at the Hearing that he usually does not share his experience of

sexual abuse. (Tr. 22) (“I don’t tell very many people.”). Despite his normal reserve, Juror 50




                                                  5
         Case 1:20-cr-00330-AJN Document 649 Filed 03/15/22 Page 6 of 12




decided post-trial to reach out to one of the victims in this case, publicly acknowledge his own

sexual abuse, and loudly proclaim to the international press that Ms. Maxwell’s guilty verdict

was a verdict “for all the victims.” At the Hearing, Juror 50 explained his reasons for doing this:

“After sitting on this trial for several weeks and seeing the victims be brave enough to give their

story, I felt like if they can do it, then so can I.” (Tr. 24).

        Juror 50’s testimony shows that the victims’ testimony personally resonated with him in a

way that jurors who had not been sexually abused as children would not have felt. It caused him

to regard himself as an advocate of the victims rather than a neutral arbiter of the facts. Even if

the Court credits Juror 50’s contention (and it should not) that he did not have these emotions at

the time of voir dire and only developed them after hearing the witness’ testimony, it still shows

that Juror 50 was not capable of “separating [his] own life experiences from the evidence in the

case.” Sampson, 724 F.3d at 167; see also Ashfar, 196 A.3d at 94-97 (finding bias for juror who

did not disclose his prior sexual abuse, communicated with a female victim of sexual assault, and

identified himself as “an advocate for the people”).

        Moreover, the hearing testimony established that Juror 50’s history of sexual abuse did,

in fact, compromise his ability to be fair and impartial. Prior to the Hearing, Juror 50 told the

press that he recalled several details of his own sexual abuse and that “some of it can be replayed

like a video.” At the Hearing, Juror 50 underscored that his own experience of sexual abuse

shaped his beliefs about how victims’ memories of traumatic events work. He stated that he

talked to the press about “how I view things and how I can recall memories … [and] remember

things and recall things, like the color of the wall[.]” (Tr. 23). He further stated that his own

memories are “why I believe a certain way” about the nature of victims’ memories. (Tr. 22). As

set forth in our initial Motion, Juror 50’s beliefs directly contradict Dr. Loftus’ expert testimony




                                                     6
         Case 1:20-cr-00330-AJN Document 649 Filed 03/15/22 Page 7 of 12




about how memory can be corrupted and rendered him incapable of objectively evaluating a

central aspect of Ms. Maxwell’s defense. (Motion at 32-33).

       The Court should not credit Juror 50’s repeated assurances that he would not, and did not,

let his past experience of sexual abuse affect his ability to fairly and impartially evaluate the

evidence. Those answers were self-serving and are of no value to the Court’s analysis of

potential bias. Indeed, the Second Circuit had recognized that in determining whether implied or

inferred bias exists, “the juror’s statements as to his or her ability to be impartial become

irrelevant.” Torres, 128 F.3d at 47. Instead, bias must be determined from the surrounding facts

and circumstances—especially in cases where the juror’s experience closely tracks the trial

evidence—because “the bias of a juror will rarely be admitted by the juror himself, ‘partly

because the juror may have an interest in concealing his own bias and partly because the juror

may be unaware of it.’” Id. (quoting McDonough, 464 U.S. at 558). Here, the record establishes

that Juror 50 was biased and would have been struck for cause had he truthfully disclosed his

history of sexual abuse.

       B. Juror 50’s Answers to the Court’s Questions Were Not Credible and Further
          Revealed His Bias
       Juror 50’s responses to the Court’s questions at the Hearing were rife with contradictions

and inconsistencies. His explanation for his false statements on the jury questionnaire—that he

“flew through” the questions and did not see that multiple questions called for him to disclose his

sexual abuse—lacked all credibility. And his assertion that he did not think anyone would find

out about his sexual abuse after giving three interviews to the international press, including a

video interview, about his service as a juror on the most widely covered case in decades was

utterly implausible. Juror 50’s false statements and his explanation for those false statements, a




                                                  7
        Case 1:20-cr-00330-AJN Document 649 Filed 03/15/22 Page 8 of 12




sample of which are provided below, provide further evidence of his bias. See Skaggs, 164 F.3d

at 517 (dishonest answers are a factor that can contribute to a finding of implied bias).

       First, Juror 50’s explanation that he answered Question 48 falsely because he was

distracted and felt rushed and did not see the word “you” and the answer “Yes (self)” are not

credible. (Tr. 12-15, 21). Juror 50 estimated that he had about an hour to complete the

questionnaire (Tr. 21), more than ample time to review it and answer the questions carefully.

Moreover, by the time Juror 50 reached Question 48, he had answered fifty-two questions that

contained the word “you.” (See Court Exhibit 1, Questions 1-3, 5-32, 33a-f, 34, 34a, 35-47).

Juror 50 testified that he was still focused when he answered the first several questions in the

questionnaire and was only rushed when he got to the end. (Tr. 19). Hence, even accepting

Juror 50’s own testimony, he would have seen that almost all of the questions in the early part of

the questionnaire contained the word “you” and asked about the juror himself.

       Furthermore, Juror 50 told the press that while he did not recall a question about his own

sexual abuse, he did recall one about the abuse of friends and family members. Prior to

answering Question 48, Juror 50 had answered sixteen questions that referenced “family” or

“relative” and “close friend.” (See Court Exhibit 1, Questions 20- 28, 33a-f, 45). Every question

Juror 50 answered containing “family” or “relative” and “close friend” also contained the word

“you.” It is simply not plausible to believe that Juror 50 failed to see the word “you” in Question

48 but did somehow recall all of the other words including “friends” and “family.”

       Second, in explaining why he answered “no” to Question 25—that he was not the victim

of a crime, despite his sexual abuse—Juror 50 stated that as part of his “healing process” he did

not consider himself as a victim of sexual abuse. (Tr. 10) (“I wasn’t thinking of my sexual abuse

as being a victim of a crime because I no longer associate being a victim. It’s part of my healing




                                                 8
          Case 1:20-cr-00330-AJN Document 649 Filed 03/15/22 Page 9 of 12




process and it’s how I dealt with the abuse.”). Juror 50 elaborated on this statement later in the

Hearing:

         I don’t really think about my abuse really much anymore because it doesn’t
         define me, it doesn’t make me who I am today. It’s something that happened,
         it’s an experience that I lived through, and I have become the person I am today
         because of my goals and ambitions. And I do not feel that I am a victim of a
         crime, even though looking back on this abuse, that does make me a victim of a
         crime, which is why I should have marked yes for self.

(Tr. 16). Juror 50’s answers are telling. First, it shows that the abuse was, understandably, such

a traumatic experience in his life and that he needed to undergo a “healing process” to be able to

deal with the abuse. Indeed, Juror 50 disclosed on social media that he sees a therapist regularly

who, among other things, gave him help “dealing with the stress of the [Maxwell] case.”

(Motion at 20). Second, it shows that as part of the healing process, Juror 50 does not identify as

a victim and rejects that label. We do not question in any way the strategies that Juror 50 has

used to cope with and heal from his traumatic experience. However, his statements do reveal

just how deeply the trauma affected him and continues to affect him. The objectively correct

answer to Question 25 is “yes” if you have been the victim of sexual abuse. That is how a

neutral, unbiased juror would have answered that question. But for Juror 50, the question used a

label that sparked an immediate negative reaction that was tied up with the healing process he

has used to deal with his trauma and prevented him from answering accurately. His response

shows quite clearly that Juror 50 was too biased to serve as a juror in this case.2

         Third, Juror 50’s answers about why he did not mark “yes (friend or family member)” to

Question 49 are also not credible. After disclosing that he was abused by his stepbrother and that

his mother reported the abuse to the police after he disclosed it, the Court asked Juror 50 why he


2
  The Court denied the defense’s request to ask further questions about Juror 50’s healing process. We believe that
those questions were relevant and appropriate. Accordingly, we reiterate our objection to the Court’s denial of those
questions and the others posed by defense counsel in its letter submission and at sidebar during the hearing.


                                                         9
        Case 1:20-cr-00330-AJN Document 649 Filed 03/15/22 Page 10 of 12




did not disclose that in response to Question 49, which asks whether a family member has ever

been accused of sexual abuse. (Tr. 11-13). Juror 50 originally answered that “no” was an

accurate response because he “never considered them part of my family even when they lived

with us for a few years.” (Tr. 11). That response contradicted a response he gave only a few

minutes earlier concerning Question 48, when he first described the abuse to the Court. There,

he said he was abused by “a family member, who is no longer part of the family.” (Tr. 8). He

then quickly changed his answer and returned to his familiar refrain that he “flew threw” the

questionnaire and said he “didn’t even consider” whether his stepbrother was a family member.

(Tr. 11-12). He then admitted that the accurate answer would have been “Yes (friend or family

member) because his stepbrother was, in fact, a family member. (Tr. 12-13). Juror 50’s shifting

explanation for his answer to this question shows an intent to answer this question falsely.

        Fourth, Juror 50 made a tortured and thoroughly unbelievable attempt to reconcile his

statement that he “[doesn’t] tell very many people” about his abuse with his decision to speak

publicly about his abuse to multiple international media outlets, including the British tabloids,

and his decision to post on numerous social media accounts. As soon as he was confronted with

the obvious inconsistency, he provided an unprompted and obviously rehearsed answer: “I didn’t

lie in order to get on this jury and then go to the press and tell them about my abuse. It just …

it’s a little illogical thinking about it, like if I lied deliberately I wouldn’t have told a soul.” (Tr.

22-23). The Court continued to press after his unresponsive answer. When asked if he thought

about the fact that many people would learn about his sexual abuse, he responded “No, I did

not.” (Tr. 23). He later added that he thought “a little article about a juror giving their

experience wouldn’t be record-breaking or really in the news at all.” (Tr. 42). That is absolute

nonsense. Juror 50 had numerous media outlets pursuing him for an interview as soon as the




                                                    10
        Case 1:20-cr-00330-AJN Document 649 Filed 03/15/22 Page 11 of 12




trial ended. There is no question that Juror 50 would have known (if he didn’t know before) that

that Maxwell trial was all over the press and was the subject of a massive media blitz. Far from

hoping to remain anonymous, Juror 50 reveled in the attention and started posting his own

messages on social media, using his actual picture and his real first name, announcing to the

world that he was on the Maxwell jury. (See Motion at 20, Juror 50’s Instagram Account) (“I

can now tell everyone that I was a juror on the Ghislaine Maxwell trial.”). Juror 50 was not

looking to avoid notice. He was looking to soak up his 15 minutes of fame. This, again, is

strong evidence of Juror 50’s bias.

       Whether Juror 50’s false responses were for the purpose of securing a spot on the jury or

because he was deluding himself about his ability to be impartial, Juror 50’s multiple false

statements on the questionnaire and to the Court add to the bases for finding that he should have

been struck for cause. See Sampson, 820 F. Supp. 2d at 165 (“Even when prospective jurors are

dishonest for reasons other than a desire to secure a seat on the jury, dishonest answers to voir

dire questions indicate that a juror is unwilling or unable to apply the law as instructed by the

court to the evidence presented by the parties and, therefore, are indicative of a lack of

impartiality[.]” (internal quotation marks omitted)).

       Finally, Juror 50 admitted that he was perfectly willing to disregard the Court

instructions. In light of his statements that he “flew through” the questionnaire, the Court asked

Juror 50 whether he was concerned about following the Court’s instructions. (Tr. 18). Juror 50

responded, “Absolutely not.” (Id.). When the Court asked him again, he again responded “No, I

really … this is a terrible excuse, but I didn’t really think I would be chosen.” (Id.). A

willingness to disregard the Court’s instructions shows an inability to serve as an unbiased juror

and raises independent grounds for a for cause challenge. See Dyer v. Calderon, 151 F.3d 970,




                                                 11
        Case 1:20-cr-00330-AJN Document 649 Filed 03/15/22 Page 12 of 12




983 (9th Cir. 1998) (en banc) (“If a juror treats with contempt the court's admonition to answer

voir dire questions truthfully, she can be expected to treat her responsibilities as a juror – to listen

to the evidence, not to consider extrinsic facts, to follow the judge's instructions – with equal

scorn.”).


                                           *       *       *


        As Felix Frankfurter observed, “Justice must satisfy the appearance of justice.” Excusing

Juror 50’s false answers because he believes his concealed history of sexual abuse did not affect

his ability to serve as a fair and impartial juror does not satisfy the appearance of justice. Only a

new trial would. The Court should therefore order a new trial.

                                                               Very truly yours,


                                                                 /s/ Bobbi C. Sternheim
                                                               Bobbi C. Sternheim

                                                                 /s/ Christian Everdell
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cc:     All Counsel of Record (by ECF)




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